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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO


NORTHWEST ASSOCIATION OF                      Case No.
INDEPENDENT SCHOOLS, SUN VALLEY
COMMUNITY SCHOOL, INC., FOOTHILLS             COMPLAINT FOR INJUNCTIVE AND
SCHOOL OF ARTS AND SCIENCES, INC.,            DECLARATORY RELIEF
THE COMMUNITY LIBRARY
ASSOCIATION, INC., COLLISTER UNITED
METHODIST CHURCH, INC., MARY
HOLLIS ZIMMER, MATTHEW
PODOLSKY, JEREMY WALLACE on behalf
of his minor child, A.W., and CHRISTINA
LEIDECKER on behalf of herself and her
minor child, S.L.,

                Plaintiffs,

                v.
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RAÚL LABRADOR, in his capacity as the
Attorney General for the State of Idaho, JAN
BENNETTS, in her capacity as Prosecuting
Attorney for Ada County, Idaho, and MATT
FREDBACK, in his capacity as Prosecuting
Attorney for Blaine County, Idaho,

                   Defendants.



                                         COMPLAINT

       1.      This lawsuit seeks to preliminarily and permanently enjoin the enforcement of

Idaho House Bill 710 (hereinafter, “H.B. 710,” or the “Act”), which codifies an unprecedented

attempt by the government to control speech and ideas in private institutions. H.B. 710 took

effect on July 1, 2024.

       2.      As relevant to this lawsuit, the Act limits the ability of private K-12 schools and

privately funded public libraries to provide minors (whatever their age) with books, art, movies,

and other materials that contain non-obscene content that is disfavored by the State of Idaho.

Through the Act’s vague and overbroad definition of material that is “harmful to minors,” the

Act infringes on the First Amendment rights of such schools and libraries. It also infringes on

the fundamental liberty interest of parents who choose those private entities over State-controlled

public schools and libraries for the educational development of their minor children. And it

denies minors who attend private schools or patronize privately funded public libraries the right

to receive constitutionally protected, non-obscene material.

       3.      The Act violates the First Amendment of the United States Constitution as

incorporated against the State of Idaho by the Fourteenth Amendment, and the Due Process

Clause of the Fourteenth Amendment, and it should be preliminarily and permanently enjoined.




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                                            INTRODUCTION

         4.        It is axiomatic in our democratic, pluralistic society, that a “child is not the mere

creature of the state” and the United States Constitution “excludes any general power of the state

to standardize its children.” 1

         5.        The Constitution serves as a bulwark against state overreach in this context.

         6.        The First Amendment protects the expressive speech and conduct of private non-

profit entities, including private schools like Plaintiffs Sun Valley Community School, Inc., an

Idaho non-profit corporation (“SVCS”) and Foothills School of Arts and Sciences, Inc.

(“Foothills”), and privately funded public libraries like Plaintiffs The Community Library

Association, Inc. (“The Community Library”) and Collister United Methodist Church, Inc.

(“Collister”). 2

         7.        The Fourteenth Amendment protects the fundamental liberty interest of parents,

including Plaintiffs Mary Hollis Zimmer, Matthew Podolsky, and Christina Leidecker

(collectively, the “Parent Plaintiffs”), to direct the education and development of their children,

independent of State-controlled institutions, using constitutionally protected materials chosen for

that purpose by the Private Entity Plaintiffs, even (and especially) when the State disapproves of

the content contained in those materials.




1
    Pierce v. Soc'y of the Sisters of the Holy Names of Jesus & Mary, 268 U.S. 510, 535 (1925).
2
  Hereinafter, Plaintiffs SVCS and Foothills are referred to collectively as the “Private School
Plaintiffs,” and Plaintiffs The Community Library and Collister are referred to collectively as the
“Library Plaintiffs.” The Private School Plaintiffs and Library Plaintiffs are together collectively
referred to as the “Private Entity Plaintiffs.”


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       8.      And the First Amendment guarantees the right of minors, including Plaintiffs

A.W. and S.L. (collectively, the “Minor Plaintiffs”), to receive the constitutionally protected

materials the Private Entity Plaintiffs and their parents have together determined are appropriate

for their educational, social, and emotional development.

       9.      The Act’s vague and overbroad definition of “harmful to minors” conflicts with

decades of settled constitutional law and extends well beyond the State’s limited authority to

restrict the materials that private parties, like the Private Entity Plaintiffs, may provide to minors.

       10.     The unconstitutional harm caused by H.B. 710 is exacerbated by its enforcement

provisions, which threaten the Private Entity Plaintiffs with harassing and meritless litigation for

engaging in constitutionally protected speech and conduct. The Act authorizes Defendants to

seek broad injunctive relief against the Private Entity Plaintiffs in an effort to prohibit them from

providing constitutionally protected, non-obscene materials to minors. It also gives private

actors a cause of action and a financial incentive to file suit against the Private Entity Plaintiffs

based on the private actors’ personal, subjective assessment of what their community considers

“harmful to minors.”

       11.     On its face, the Act encompasses works of significant cultural, historical, literary

and scientific import that are central to an informed education. Indeed, the broad language of the

Act subjects the Private Entity Plaintiffs to suit for providing minors with health education

textbooks, images of canonical works of art like Michealangelo’s David, significant works of

literature like Toni Morrison’s The Bluest Eye, and even the Bible, if a Defendant or citizen

complainant subjectively believes members of their community would find them offensive. The

Constitution does not permit the State to engage in content-based censorship to mollify a

community’s most sensitive and censorious members.




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        12.     The harm to Plaintiffs is immediate and substantial. The Private Entity Plaintiffs

do not provide minors with any material that is “obscene” or “harmful to minors” under Miller v.

California, 413 U.S. 15 (1973), and its progeny; the Parent Plaintiffs do not wish to educate their

children using material that is “obscene” or “harmful to minors” under Miller and its progeny;

and Minor Plaintiffs do not wish to receive material that is “obscene” or “harmful to minors”

under Miller and its progeny. The effect of H.B. 710 on Plaintiffs, in other words, will be to

prohibit and chill only constitutionally protected, non-obscene speech and conduct.

        13.     For the reasons set forth herein, H.B. 710 violates the First and Fourteenth

Amendments to the U.S. Constitution and it should be enjoined.

                                  JURISDICTION AND VENUE

        14.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343

because this action is brought under 42 U.S.C. § 1983 and seeks to vindicate rights protected by

the First and Fourteenth Amendments to the United States Constitution.

        15.     Plaintiffs seek remedies in this action under 42 U.S.C. §§ 1983, 1988, and 28

U.S.C. §§ 2201, 2022, and Federal Rules of Civil Procedure 65 and 57.

        16.     Defendants reside within this District and/or perform official duties within the

State of Idaho. Accordingly, this Court has personal jurisdiction over the Defendants.

        17.     Venue is proper under 28 U.S.C § 1391(b) and (e) because Defendants are public

officials in the State of Idaho, sued in their official capacities, and their offices are located in this

District.




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                                              PARTIES

    I.         Plaintiffs

         18.      Plaintiff Northwest Association of Independent Schools (“NWAIS”) is a

registered 501(c)(3) non-profit corporation based in Seattle, Washington. NWAIS brings these

claims on behalf of its members Plaintiffs SVCS and Foothills.

         19.      NWAIS is an association of 109 independent private schools in the Northwest

United States and British Columbia, Canada. NWAIS has member schools in Idaho, Alaska,

Montana, Nevada, Oregon, Utah, Washington, Wyoming, and British Columbia. All NWAIS

members pay annual dues to the association.

         20.      NWAIS’s mission is to encourage, support, and strengthen independent education

in the Northwest United States, including in Idaho. It offers a rigorous accreditation program to

its member schools in Idaho and elsewhere, promotes sound and ethical practices, fosters

professional growth by sponsoring workshops, conferences and other educational opportunities,

and promotes communication among member schools and with the public and government

officials.

         21.      NWAIS’s member schools in Idaho (and elsewhere) have a constitutional right to

create and offer age-appropriate curricula free of undue interference from the State, including

curricula that satisfy NWAIS’s rigorous accreditation standards. Parents in Idaho (and

elsewhere) that have chosen an NWAIS-accredited school over a State-controlled public school

for their children’s education have a constitutional right to do so. NWAIS’s accreditation

standards ensure parents that the curriculum at NWAIS-accredited schools were developed to

further the educational, emotional, and social development of their children, without regard to

the content-based preferences of the State.




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        22.     Plaintiff SVCS is an independent private school in Sun Valley, Idaho that serves

students in pre-kindergarten through twelfth grade. It is registered as a 501(c)(3) non-profit

corporation. SVCS is accredited by, and a member of, NWAIS.

        23.     SVCS’s mission is to inspire its students to think critically, engage confidently,

embrace challenges, and lead impactful, purposeful lives. SVCS works to prepare its students

for an evolving world by helping them acquire a proven body of knowledge and develop a useful

array of skills and abilities.

        24.     To further this mission, experienced educators at SVCS thoughtfully select the

materials the school makes available to its students in its curriculum and libraries to help prepare

students for college and for life.

        25.     SVCS does not make available any material that is “obscene” or “harmful to

minors” as those terms are defined in Miller and its progeny. SVCS does make available to its

students certain constitutionally protected, non-obscene materials that contain content described

in Section 1 of H.B. 710 that Defendants and/or some Idahoans may find subjectively offensive,

and that may therefore fall within the scope of H.B. 710’s prohibition.

        26.     SVCS wishes to continue making these materials available to its students,

consistent with its educational mission and NWAIS’s accreditation standards, and free from H.B.

710’s overbroad and vague prohibition.

        27.     Plaintiff Foothills is an independent private school in Boise, Idaho that serves

students in pre-kindergarten through ninth grade and is a registered 501(c)(3) non-profit

corporation. Foothills is accredited by, and a member of, NWAIS.




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       28.     Foothills’ mission is to ignite in its students a passion for learning through a

progressive approach to education. Through a challenging inquiry-based curriculum, Foothills

students explore their ideas and develop curiosity, creativity, critical thinking, and confidence.

       29.     In developing this curriculum and cultivating its school library, Foothills

exercises the significant discretion that State and federal law affords private schools in Idaho.

Foothills carefully considers the materials it makes available to its students through its

curriculum, in its classroom libraries, and elsewhere within its facilities. Foothills does not make

available to its students any material that is “obscene” or “harmful to minors” as those terms are

defined in Miller and its progeny. Foothills does make available to its students certain

constitutionally protected, non-obscene materials that contain content described in Section 1 of

H.B. 710 that Defendants and/or some Idahoans may find subjectively offensive, and that may

therefore fall within the scope of H.B. 710’s prohibition.

       30.     Foothills has selected the materials in its curriculum, its libraries, and elsewhere

in its facilities because the materials contribute to the educational, emotional, and social

development of its students, and will help prepare them for high school, higher education, and

the world beyond. Foothills wishes to continue making these materials available to its students

consistent with its educational mission and NWAIS’s accreditation standards, and free from H.B.

710’s overbroad and vague prohibition and undue State interference.

       31.     Plaintiff The Community Library is a privately funded library in Ketchum, Idaho

that is open to all members of the public. It was founded in 1955 by seventeen women as a

privately funded, privately governed, and publicly minded library to encourage intellectual and

creative pursuits in central Idaho.




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       32.     The Community Library is a registered 501(c)(3) non-profit corporation. The

Community Library’s founders believed, and the current staff and Board of Trustees continue to

believe, that The Community Library can best encourage independent thinking and free access

for all by maintaining The Community Library’s status as a private non-profit corporate entity

not dependent on funding from, or subject to oversight by, the State.

       33.     The Community Library occupies more than 25,000 square feet and contains

more than 107,000 physical volumes. It also provides free wireless internet access and 15

computer terminals for use by members and non-members, a digital collection containing tens of

thousands of volumes provided by several private entities with which The Community Library

has contractual agreements, and the Center for Regional History.

       34.     Any member of the public with a picture ID can sign up for a library card and

membership is free. Nearly 5,000 people from all over the State of Idaho, nearly every state in

the United States, and abroad hold library cards from The Community Library.

       35.     The Community Library loans more than 120,000 volumes per year to its

members, of which approximately 2/3 are physical books and 1/3 are electronic or digital books

(hereinafter, “e-books”).

       36.     Because The Community Library is open to the public and any member of the

public can obtain a library card and check out books for free, The Community Library believes it

is subject to H.B. 710’s prohibition. The Community Library carefully considers each volume it

maintains, adds, or removes from its collection to ensure that its collection serves the interests

and needs of the community, including its minor patrons. The Community Library does not

make available to minors any material that is “obscene” or “harmful to minors” as those terms

are defined in Miller and its progeny.




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       37.     The Community Library wishes to curate its collection and serve its community

consistent with the First and Fourteenth Amendments to the U.S. Constitution and free from

undue interference by the State.

       38.     Plaintiff Collister is a United Methodist church in Boise, Idaho. It is a registered

501(c)(3) non-profit corporation.

       39.     Collister believes that all people are children of God and worthy of respect, love

and a church family. Consistent with that belief, Collister voted last year to become a

Reconciling Ministry, which is a United Methodist affiliation in which affiliated churches

commit to achieve LGBTQ+ justice and full inclusion in their churches’ life and leadership. In

becoming a Reconciling Ministry, Collister codified its pre-existing commitment to welcoming

and affirming people of every gender identity, gender expression, and sexual orientation.

       40.     To help effectuate its commitments as a Reconciling Ministry, Collister opened a

lending library that distributes books that focus on LGBTQ+ people and topics. Some of the

books are geared towards minors and others are geared towards adults. Any member of the

public is welcome to borrow books from the lending library.

       41.     Because Collister’s lending library is open to the public and any member of the

public can borrow books for free, Collister believes it is subject to H.B. 710’s prohibition.

Collister carefully considers the materials it includes in its lending library and it does not make

available any material that is “obscene” or “harmful to minors” as those terms are defined in

Miller and its progeny.

       42.     Collister wishes to continue to curate the contents of its lending library and serve

its community in a manner consistent with the First and Fourteenth Amendments to the U.S.

Constitution and free from undue interference by the State.




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       43.     Plaintiff Mary Hollis Zimmer is a resident of Hailey, Idaho. She is the parent of a

student at SVCS who will be in the 11th grade during the 2024-25 school year. Ms. Zimmer has

a fundamental right to direct the upbringing and education of her minor child and she wishes her

child to have access to all constitutionally protected, non-obscene materials that SVCS wishes to

make available to her, without regard to the State’s content-based preferences.

       44.     Plaintiff Matthew Podolsky is a resident of Boise, Idaho. He is the parent of a

student at Foothills who will be in the 5th grade during the 2024-25 school year. Mr. Podolsky

has a fundamental right to direct the upbringing and education of his minor child and he wishes

his child to have access to all constitutionally protected, non-obscene materials that Foothills

wishes to make available to him, without regard to the State’s content-based preferences.

       45.     Plaintiff Jeremy Wallace is a resident of Boise, Idaho. He is the parent of Minor

Plaintiff A.W., who also resides in Boise, Idaho, and is a student at a private high school (the

“Private School”) in Boise. A.W. will be in 11th grade during the 2024-25 school year. Mr.

Wallace brings these claims as next friend to A.W.

       46.     A.W. is a dedicated student and a member of student government at the Private

School and she plans to attend college after she graduates from the Private School. A.W. wishes

to receive all constitutionally protected materials that the Private School identifies as appropriate

for her educational, emotional, and social development, without regard to the State’s content-

based preferences.

       47.     Plaintiff Christina Leidecker is a resident of Hailey, Idaho and the parent of Minor

Plaintiff S.L., who is 17 years old, and another minor who is 15 years old. Ms. Leidecker and

her minor children are patrons of The Community Library. Ms. Leidecker brings these claims on

behalf of herself and as next friend to S.L.




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         48.      Ms. Leidecker has a fundamental right to direct the upbringing and education of

her minor children, including S.L., and she wishes for her minor children to have access to all

constitutionally protected, non-obscene materials that The Community Library wishes to make

available to them, without regard to the State’s content-based preferences.

         49.      S.L. is a resident of Hailey, Idaho, and is the daughter of Ms. Leidecker. S.L. is

17 years old and she is a dedicated student and avid reader. S.L. wishes to receive all

constitutionally protected, non-obscene materials that Ms. Leidecker and The Community

Library wish to make available to her, without regard to the State’s content-based preferences.

   II.         Defendants

         50.      Defendant Raúl Labrador is the Attorney General of Idaho. He is sued in his

official capacity only, as Idaho’s Attorney General, a position in which he acts under color of

law to enforce H.B. 710. H.B. 710 provides Defendant Labrador “a cause of action for

injunctive relief against any school or public library that violates” the law. § 18-1517B(5). As

residents of or non-profit corporate entities doing business in Idaho, each Plaintiff is subject to

the jurisdiction of Defendant Labrador.

         51.      Defendant Jan Bennetts is the Prosecuting Attorney for Ada County, Idaho. She

is sued in her official capacity only, as Prosecuting Attorney, a position in which she acts under

color of law to enforce H.B. 710. H.B. 710 provides county prosecuting attorneys, like

Defendant Bennetts, “a cause of action for injunctive relief against any school or public library

that violates” the law. § 18-1517B(5). Plaintiffs Foothills, Collister, Matthew Podolsky, and

A.W. reside or do business in Ada County and are subject to Defendant Bennetts’s jurisdiction.

         52.      Defendant Matt Fredback is the Prosecuting Attorney for Blaine, County, Idaho.

He is sued in his official capacity only, as Prosecuting Attorney, a position in which he acts




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under color of law to enforce H.B. 710. H.B. 710 provides county prosecuting attorneys, like

Defendant Fredback, “a cause of action for injunctive relief against any school or public library

that violates” the law. § 18-1517B(5). Plaintiffs SVCS, The Community Library, Mary Hollis

Zimmer, Christina Leidecker, and S.L. reside or do business in Blaine County and are subject to

Defendant Fredback’s jurisdiction.

                                       FACTUAL ALLEGATIONS

      I.         The First Amendment and Minors

           53.      The First Amendment to the United States Constitution is incorporated against the

State by the Fourteenth Amendment.

           54.      The First Amendment prohibits the State from imposing content-based

restrictions on private actors’ ability to provide minors with non-obscene speech and materials. 3

           55.      Indeed, “[s]peech that is neither obscene as to youths nor subject to some other

legitimate proscription cannot be suppressed solely to protect the young from ideas or images

that a legislative body thinks unsuitable for them. . . . [T]he values protected by the First

Amendment are no less applicable when government seeks to control the flow of information to

minors.” 4

           56.      In Miller, the Court “set forth . . . the test for obscenity that controls to this day:

‘(a) whether the average person, applying contemporary community standards would find that

the work, taken as a whole, appeals to the prurient interest; (b) whether the work depicts or

describes, in a patently offensive way, sexual conduct specifically defined by the applicable state



3
 Erznoznik v. Jacksonville, 422 U.S. 205, 212–13 (1975); Video Software Dealers Ass’n v.
Schwarzenegger, 556 F.3d 950, 957 (9th Cir. 2009), aff'd sub nom. Brown v. Entm’t Merch.
Ass’n, 564 U.S. 786 (2011); Powell's Books, Inc. v. Kroger, 622 F.3d 1202, 1208 (9th Cir. 2010).
4
    Erznoznik, 422 U.S. at 213–14.


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law; and (c) whether the work, taken as a whole, lacks serious literary, artistic, political, or

scientific value.’” 5

            57.      Under Miller and its progeny, “the proper inquiry is not whether an ordinary

member of any given community would find serious literary, artistic, political, or scientific value

in allegedly obscene material, but whether a reasonable person would find such value in the

material, taken as a whole.” 6

            58.      In light of this settled authority, H.B. 710 violates Plaintiffs’ rights “to

legitimately share and access non-obscene materials without the interference of the state.” 7

      II.         Overview of the Statutory Scheme

            59.      H.B. 710 is the culmination of a multi-year effort by members of the Idaho State

Legislature (hereinafter, the “Legislature”) to enact a law restricting public and private schools,

and public libraries (including privately funded public libraries), from providing certain materials

to minors.

            60.      In 2023, an earlier and materially similar iteration of the law was vetoed by

Governor Brad Little because of its “ambiguity,” the “unintended consequences” it would have

on minors’ access to information, and because it would impose the most restrictive view of what

materials are “harmful to minors” on all library patrons and school students. 8




5
    Reno v. ACLU, 521 U.S. 844, 872 (1997) (quoting Miller, 413 U.S. at 93).
6
    Pope v. Illinois, 481 U.S. 497, 500–01 (1987).
7
    Powell's Books, 622 F.3d at 1215.
8
 Letter from Idaho Governor Brad Little to the Hon. Mike Moyle, Speaker of the Idaho House
of Representatives, concerning House Bill 314aaS (Apr. 5, 2023), available at
https://gov.idaho.gov/wp-content/uploads/2023/04/veto_h-314_2023.pdf.


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        61.    Governor Little signed H.B. 710 into law on April 10, 2024. After signing the

Act, Governor Little asserted that he had “signed that stinking library bill.” 9

        62.    Section 1 of the Act, which amends § 18-1514 of the Idaho Code, is entitled

“OBSCENE MATERIALS – DEFINITIONS” (hereinafter the “Definitional Provision”) and it

defines some, but not all, of the terms used in the Act’s substantive prohibition. See § 18-

1514(1)–(11). The Definitional Provision establishes a standard for identifying materials that

private actors, like Private Entity Plaintiffs, may not make available to minors; that parents,

including the Parent Plaintiffs, may not choose to include in their children’s private education;

and that minors, including the Minor Plaintiffs, may not access from their private schools or

libraries.

        63.    Section 2 of the Act, codified in § 18-1517B to the Idaho Code, is entitled

“CHILDREN’S SCHOOL AND LIBRARY PROTECTION,” and it contains the Act’s

substantive prohibition in subparagraph (2) (hereinafter, the “Substantive Prohibition”). § 18-

1517B(2). Section 18-1517B(2) prohibits private entities, including the Private Entity Plaintiffs,

from providing minors with any material that falls within the Act’s scope. See §§ 18-1517B(2)

(extending prohibition to “a school or public library”), 18-1514(11) (defining “school” to include

“any public or private school providing instruction for students in kindergarten through

grade 12”).

        64.    Section 2 also includes the Act’s enforcement provisions in subparagraphs (3)–(5)

and (7). § 18-1517B(3)–(5), (7).




9
  Ruth Brown and Logan Finney, Gov. Little signs library bill regarding ‘obscene content’,
IDAHO REPORTS, April 10, 2024, https://blog.idahoreports.idahoptv.org/2024/04/10/gov-little-
signs-library-bill-regarding-obscene-content/.


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           65.      Subparagraphs (3) and (4) provide a mechanism by which parents and minors

may enforce the Act through a civil claim against entities including the Private Entity Plaintiffs.

§ 18-1517B(3)–(4). The Act provides that plaintiffs who successfully bring suit are entitled to a

$250 cash bounty and compensation for “actual damages” (hereinafter, the “Citizen Enforcement

Provision”). § 18-1517B(4).

           66.      Subparagraph (5) authorizes the Attorney General and county prosecutors to

enforce the Act through an application for injunctive relief (hereinafter, the “Government

Enforcement Provision”). § 18-1517B(5).

           67.      Subparagraph (7) directs private entities, including the Private Entity Plaintiffs, to

create a “policy and readily accessible form” by which “a person”—any person—may “request

review of material the person considers to be harmful to minors” (hereinafter, the “Review

Provision”). § 18-1517B(7).

           68.      Section 3 of the Act identifies “[a]n emergency existing therefor, which . . . is

hereby declared to exist,” and instructs that the Act “shall be in full force and effect on and after

July 1, 2024.”

    III.         The Scope of the Act

                 a. The Substantive and Definitional Provisions

           69.      The unbounded and undefined authority conferred in H.B. 710’s Substantive and

Definitional Provisions invites arbitrary enforcement and provides a mechanism by which the

Defendants, parents, and minor students and patrons may censor the constitutionally protected

speech and conduct of private parties, including the Plaintiffs, based on their own subjective

beliefs and sensitivities.




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                    i. “Harmful to Minors”

       70.      The scope of the Act’s Substantive Prohibition turns principally on the definition

of “harmful to minors,” which is found in subparagraph 6 of the Definitional Provision.

Subparagraph 6 provides in full:

                “Harmful to minors” includes in its meaning the quality of any
                material or of any performance or of any description or
                representation, in whatever form, of nudity, sexual conduct, sexual
                excitement, or sado-masochistic abuse, when it:
                   (a) Appeals to the prurient interest of minors as judged by the
                   average person, applying contemporary community standards;
                   and
                   (b) Depicts or describes representations or descriptions of
                   nudity, sexual conduct, sexual excitement, or sado-masochistic
                   abuse which are patently offensive to prevailing standards in the
                   adult community with respect to what is suitable material for
                   minors and includes, but is not limited to, patently offensive
                   representations or descriptions of:
                      (i) Intimate sexual acts, normal or perverted, actual or
                      simulated; or
                      (ii) Masturbation, excretory functions or lewd exhibition of
                      the genitals or genital area. Nothing herein contained is
                      intended to include or proscribe any matter which, when
                      considered as a whole, and in context in which it is used,
                      possesses serious literary, artistic, political or scientific value
                      for minors.
§ 18-1514(6).

       71.      The definition of “harmful to minors” is incorporated into each of the three

subparagraphs of the Substantive Prohibition. See § 18-1517B(2)(a)–(c).

       72.      The Substantive Prohibition provides in full:

                (2) Notwithstanding any other provision of law, a school or public
                library, or an agent thereof, shall not promote, give, or make
                available to a minor:
                   (a) Any picture, photograph, drawing, sculpture, motion picture
                   film, or similar visual representation or image of a person or
                   portion of the human body that depicts nudity, sexual conduct,
                   or sado-masochistic abuse and that is harmful to minors;


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                   (b) Any book, pamphlet, magazine, printed matter however
                   reproduced, or sound recording that contains any matter
                   pursuant to paragraph (a) of this subsection or explicit and
                   detailed verbal descriptions or narrative accounts of sexual
                   excitement, sexual conduct, or sado-masochistic abuse and that,
                   taken as a whole, is harmful to minors; or
                   (c) Any other material harmful to minors.

§ 18-1517B(2) (emphasis added).

        73.     Section 18-1517B(2)(a)–(c) confirms the State’s intention to sweep within the

Substantive Prohibition nearly every medium through which disfavored content might be

conveyed to minors.

        74.     Taken together, these provisions amount to an unconstitutionally overbroad and

vague effort to impose content-based restrictions on the Private Entity Plaintiffs’ ability to

provide minors with material that is disfavored by the State, but nevertheless protected by the

First Amendment to the U.S. Constitution.

        75.     Under Miller and its progeny, states may regulate materials that contain

depictions of certain sexual conduct, but only if the material, taken as a whole, appeals to the

prurient interest and lacks serious literary, artistic, political, or scientific value. The latter aspect

of the Miller test (hereinafter, the “Serious Value Requirement”) ensures that every obscenity

analysis considers the entire work, rather than just the allegedly obscene depiction or description,

and it imposes an objective limitation on a state’s authority to regulate material that some

members of the community find subjectively offensive.

        76.     H.B. 710 does not contain the Serious Value Requirement.

        77.     Section 18-1517B(6)(b)(ii) of the Act contains a provision that echoes the Serious

Value Requirement in certain respects, but it fails to offer the protections required by Miller. For

example, § 18-1517B(6)(b)(ii) ambiguously applies to “any matter,” rather than to the “work”



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under consideration. It further provides that the “matter” be “considered . . . in context in which

it is used,” suggesting that the term “matter” refers to the specific “representation or description”

of disfavored content, rather than to the “work” in which that content is found. In other words,

§ 18-1517B(6)(b)(ii) impermissibly extends First Amendment protection to specific

“representation[s] or description[s]” of disfavored content only if the challenged “representation

or description” itself has “serious literary, artistic, political or scientific value for minors.”

          78.   Further, this insufficiently protective provision applies only to certain materials

described in § 18-1517B(6)(b)(ii) of the Act, i.e., those that include “[m]asturbation, excretory

functions or lewd exhibition of the genitals or genital area.”

          79.   Moreover, the definition of “harmful to minors” in H.B. 710 fails to specifically

define the content that the State seeks to regulate. The Act identifies what the phrase “harmful to

minors” “includes in its meaning,” without limitation. See § 18-1517B(6).

          80.   The Act’s indeterminacy is compounded by § 18-1517B(6)(b), which asserts that

the definition of “harmful to minors” “includes, but is not limited to, [certain] patently offensive

representations or depictions” described in that subparagraph. § 18-1517B(6)(b) (emphasis

added).

          81.   The term “includes” is a term of enlargement, not of limitation. If the Legislature

had intended an exclusive definition for the term “harmful to minors,” it would have used the

word “means,” as it did in every other definition in § 1. See id. §§ 18-1514(1)-(5), (7)-(11).

          82.   The definition of “harmful to minors” “includes” within its sweep particular

“description[s] or representation[s]” of disfavored content, irrespective of the value of the works

within which those “description[s] or representation[s]” are found. § 18-1514(6).




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          83.    For example, the definition of “harmful to minors” “includes . . . the quality of

any material or of any performance or of any description or representation, in whatever form, of

nudity, sexual conduct, sexual excitement, or sado-masochistic abuse. . . .” Id. (emphasis

added). The use of the disjunctive throughout this part of the definition confirms that the Act

includes within its sweep “description[s] or representation[s]” of disfavored content, including

where those “description[s] or representation[s]” are merely a part of a larger work and even

where such work, taken as a whole, has serious value to minors.

          84.    Under Miller and its progeny, the State may regulate material as obscene only if it

“predominantly appeals to prurient interest,” that is, it “trigger[s] responses over and beyond

normal sexual arousal.” 10 H.B. 710, by contrast, makes no references to the “predominant

appeal” of the works it seeks to regulate. Instead, the Act’s definition of “harmful to minors . . .

includes” descriptions and depictions that might “[a]ppeal[] to the prurient interest,” without

regard to their predominance or their place in the broader context in the work. See § 18-

1514(6)(a).

          85.    The Act’s unconstitutionally narrow focus on specific descriptions and depictions

is confirmed by the Substantive Prohibition.

          86.    Subparagraph (a) of the Substantive Prohibition concerns visual images of

disfavored content. § 18-1517B(2)(a). It prohibits the Private Entity Plaintiffs from

“promot[ing], giv[ing], or mak[ing] available” to minors “[a]ny picture, photograph, drawing . . .

similar visual representation or image” that contains such content, irrespective of whether such

“picture[s], photograph[s], drawing[s] . . . similar visual representation[s] or image[s]” are part of

a broader work, and without regard to the role the disfavored content plays within the work. Id.


10
     Powell's Books, 622 F.3d at 1214 (emphasis added, internal quotation marks omitted).


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          87.   Subparagraph (b) concerns larger works that contain disfavored visual images, but

it does nothing to limit the extraordinary scope of the Act. § 18-1517B(2)(b). Subparagraph (b)

prohibits the Private Entity Plaintiffs from “promot[ing], giv[ing], or mak[ing] available” to

minors any “book, pamphlet, magazine, printed matter . . . or sound recording” that contains

depictions of disfavored content described in paragraph (a). Id. Because subparagraph (a)

applies to visual depictions of disfavored content irrespective of where those visual depictions

are found, subparagraph (b) is subsumed by subparagraph (a).

          88.   In other words, if a “book, pamphlet, magazine, printed matter” or “sound

recording” contains a depiction of disfavored content that falls within subparagraph (a), H.B. 710

prohibits the Private Entity Plaintiffs from providing that depiction to a minor, irrespective of

what the rest of the “book, pamphlet, magazine, printed matter” or “sound recording” contains,

the role the depiction plays in the larger work, or whether the work as a whole has serious value

to the minor recipient.

          89.   Subparagraph (b) contains a reference to the work “taken as a whole,” § 18-

1517B(2)(b), but because (b) is subsumed within (a), this clause does not limit the

unconstitutional sweep of the Act.

          90.   To the contrary, the clause does not reference the “literary, artistic, political or

scientific value” of the work that contains the disfavored content, and the clause therefore bears

no relationship to the relevant test under Miller and its progeny.

          91.   Moreover, the “taken as a whole” clause in § 18-1517B(2)(b) does not limit the

unconstitutional scope of the Act because it simply refers back to the definition of “harmful to

minors,” which is impermissibly focused on specific depictions and descriptions contrary to

Miller.




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       92.      Finally, subparagraph (c) of the Substantive Prohibition broadly prohibits the

Private Entity Plaintiffs from “promot[ing], giv[ing], or mak[ing] available” “any other material”

to minors that contains disfavored content, irrespective of the content’s form or location, the role

it plays in a larger work, or the value to minors of a larger work within which the material is

contained. § 18-1517B(2)(c).

                   ii. “Minor”

       93.      Further, H.B. 710 fails to distinguish among minor students and patrons by age.

       94.      “Minor” as used in the Act is defined to “mean[] any person less than eighteen

(18) years of age.” § 18-1514(1).

       95.      The Act, in turn, incorporates this definition into the definition of “harmful to

minors,” thereby prohibiting the Private Entity Plaintiffs from providing seventeen-year-olds

with descriptions or depictions that are constitutionally protected and non-obscene as to them,

but which may be inappropriate for kindergartners or other younger minors. § 18-1514(6).

       96.      In this way, H.B. 710 will deprive older minors—or, in the case of The

Community Library and Collister, adults—of access to constitutionally protected materials that

may not be appropriate for a Private Entity Plaintiff’s youngest students or patrons.

                   iii. “Sexual Conduct”

       97.      The definition of “sexual conduct” includes within its scope certain depictions

and descriptions of (1) “any act of . . . homosexuality” (hereinafter, the “Act of Homosexuality

Clause”) or (2) “physical contact with a person’s clothed or unclothed genitals, pubic area,

buttocks, or, if such person be a female, the breast” (hereinafter, the “Physical Contact Clause”).

§ 18-1514(3).




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        98.    These phrases are vague, overbroad, and extend beyond the State’s limited

authority to regulate material containing “depictions of sexual conduct” that also satisfy the

Miller test.

        99.    The Act of Homosexuality Clause, for example, is not limited to sexual acts

among people of the same sex. The phrase instead includes even innocuous images or

descriptions of same sex couples holding hands, kissing, cohabitating, or engaged in parenting,

where such descriptions or depictions offend the subjective sensibilities of a particular parent,

student, or minor patron.

        100.   The Act of Homosexuality Clause targets homosexuality. The Act does not

prohibit the distribution of materials that contain descriptions or depictions of similar materials

that contain descriptions or depictions of “acts of heterosexuality.”

        101.   Similarly, the Physical Contact Clause extends to all physical contact, not only

sexual contact. The Clause therefore includes descriptions or depictions of sporting events that

involve “physical contact” among clothed individuals, medical examinations of clothed or

unclothed patients, or scientific interactions with clothed or unclothed subjects, among other

innocuous and non-sexual possibilities.

        102.   Although material encompassed in the Act of Homosexuality Clause and Physical

Contact Clauses must also be “harmful to minors” in order to fall within the scope of H.B. 710,

the Act’s definition of “harmful to minors” fails to provide constitutionally meaningful

guardrails on enforcement. As noted above, the definition of “harmful to minors” describes only

what that phrase “includes” and defines the outer bounds of the Act’s scope by reference to local

mores and the subjective sensitivities of Defendants and citizen complainants.




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                   iv. “Material”

       103.     The definition of “material” is incorporated into the Definitional and Substantive

Provisions, but it provides no guidance to the Private Entity Plaintiffs about the scope of the Act.

§ 18-1514(7).

       104.     “Material” is defined to “mean[] anything tangible which is harmful to minors,

whether derived through the medium of reading, observation or sound.” Id.

       105.     The definition is incoherent on its face. Putting aside that the noun “medium” is

not commonly understood or defined to encompass “reading, observation or sound,” something

“tangible” cannot be “derived through the medium of reading, observation or sound.”

                   v. “Performance”

       106.     The definition of “Performance” confuses, rather than clarifies, the scope of the

Act. § 18-1514(8).

       107.     “Performance” is defined to “mean[] any play, motion picture, dance or other

exhibition performed before an audience.” Id.

       108.     The phrase “harmful to minors” is defined to “include[] . . . any performance” that

also falls within § 18-1514(6)(a) and (b). § 18-1514(6).

       109.     But the Substantive Prohibition fails to mention performances, plays, dances, or

exhibitions among its long list of media through which disfavored content may not be conveyed.

Specifically, § 18-1517B prohibits the Private Entity Plaintiffs from “promot[ing], giv[ing,], or

mak[ing] available . . . picture[s], photograph[s], drawing[s], sculpture[s], motion picture film[s],

. . . similar visual representation[s] or image[s,] . . . book[s], pamphlet[s], magazine[s], printed

matter however reproduced, . . . sound recording[s,] . . . [and] explicit and detailed verbal




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descriptions or narrative accounts” that otherwise violate the Act. § 18-1517B(2)(a)–(b).

“Performances,” “play[s],” “dance[s],” and “exhibition[s]” are not included on that list.

        110.    Section 18-1517B(c) refers to “any other material harmful to minors,” but as

described above, “material” refers only to “tangible” things, and therefore does not include plays,

dances, or exhibitions performed before an audience.

        111.    Because the Definitional Provision includes plays, dances, and other exhibitions

performed before an audience and the Substantive Prohibition does not, the Private Entity

Plaintiffs are left to guess whether plays, dances and other exhibitions performed before an

audience fall within the scope of the Act.

                   vi. “Promote, give, or make available”

        112.    The prohibited acts—“promot[ing], giv[ing], or “ma[king] available”—are also

vague and overbroad in the context of the Act’s entirely subjective, vague, and overbroad

Definitional Provision. § 18-1517B(2).

        113.    The Act defines “promote” as used in the Substantive Prohibition to “mean[] to

manufacture, issue, sell, give, provide, deliver, publish, distribute, circulate, disseminate, present,

exhibit or advertise, or to offer or agree to do the same.” § 18-1514(9). This definition includes

“to . . . give,” rendering the term “give” as used in the Substantive Prohibition superfluous.

        114.    Among the acts prohibited in the Substantive Prohibition, “mak[ing] available,”

“manufactur[ing], . . . publish[ing], . . . present[ing], exhibit[ing] or advertis[ing], or to offer[ing]

or agree[ing] to do the same” appear to create a form of strict liability on the Private Entity

Plaintiffs for all of the works in their collections that contain disfavored content, without regard

to whether a specific minor has been exposed to, or taken possession of, content that the State

disfavors.




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        115.    For example, the Act appears to prohibit the Private Entity Plaintiffs from

“offer[ing] or agree[ing]” to “present” a work that contains disfavored content, irrespective of the

identity of the offeree or the counterparty to the agreement, and without regard to whether a

minor is aware of the offer or agreement or comes into possession of content disfavored by the

State. The Act also appears to create liability for every work containing disfavored content that a

school or library “make[s] available,” again without regard to whether the disfavored content

found in those works is appropriate for some minors or adults, or whether the work came into the

possession of a minor for whom the disfavored content is not appropriate.

        116.    The scope of the prohibition places an impermissible, even insurmountable,

burden on the Private Entity Plaintiffs’ ability to fulfill their constitutionally protected missions.

        117.    The point of a school that educates minors who range in age from as young as

four to as old as eighteen is to “make available” and “present” to the student body a wide range

of works that appeal to students across age groups and academic grades, and with divergent

interests, abilities, and maturity levels.

        118.    This problem is also acute with respect to the Library Plaintiffs, who serve minors

and adults of all ages, and who “make available” and “present” to the public works that

encompass a concomitantly diverse range of interests, abilities, and maturity levels.

                  vii. Scienter

        119.    The Substantive Prohibition contains no scienter requirement to separate culpable

from non-culpable conduct.

        120.    This omission is conspicuous given that the Definitional Provision includes a

definition for the term “knowingly,” which is not found anywhere in the Substantive Prohibition.

See § 18-1514(10).




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       121.      The absence of any mental state requirement encourages subjective enforcement

of the Act, chills the exercise of First Amendment freedoms, and will result in the punishment of

individuals and entities for behavior that they could not have known was unlawful.

           b. The Enforcement Provisions

       122.    The Act’s Enforcement Provisions are also incoherent and overbroad, and they

invite harassment and arbitrary enforcement.

                    i. The Review Provision

       123.    The Review Provision directs that the Private Entity Plaintiffs “shall have a

readily accessible form allowing a person to request review of material the person considers to

be harmful to minors. Such form shall contain the definition of ‘harmful to minors,’ as

provided” in H.B. 710. § 18-1517B(7).

       124.    The scope of the Private Entity Plaintiffs’ responsibility under the Review

Provision is unconstitutionally vague and will chill conduct that is protected by the First

Amendment.

       125.    The Review Provision does not describe the Private Entity Plaintiffs’ obligation

under this provision beyond the procedural requirement that they have a “readily accessible

form” that contains the information described in the provision. The Review Provision does not

define the term “readily accessible.”

       126.    Nevertheless, by inference, the Review Provision appears to confer authority on

“a person”—any person—to demand a “review” of the materials in the possession of a private

entity, including the Private Entity Plaintiffs, without regard to whether the person is affiliated

with the private entity from whom they are demanding a “review.”




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       127.    Further, whatever authority is conferred by the Review Provision is expressly

premised on the subjective views of the person demanding the review. The Review Provision

authorizes such a person to demand a review of “material” that the complainant personally and

subjectively “considers” to be “harmful to minors.”

       128.    The Review Provision also does not require the person requesting a review to

identify a specific work or works, explain what he “considers” “harmful” about the works, or

confirm that the private entity to whom he is submitting the demand has the works in its

collection.

       129.    The Review Provision will be understood by some to confer on any private citizen

a freestanding right to demand that any private school or privately funded public library,

including the Private Entity Plaintiffs, conduct a “review” of materials disfavored by the

requesting individual and the State.

                   ii. The Citizen Enforcement Provision

       130.    The Citizen Enforcement Provision provides private citizens with a cause of

action and a financial incentive to sue private entities, including the Private Entity Plaintiffs, for

alleged violations of the Act.

       131.    The Citizen Enforcement Provision provides in full:

               (3) Any minor who obtains material, or parent or legal guardian
               whose child obtained material, in violation of the provisions of
               [§ 18-1517B(2)] from a school or public library shall have a cause
               of action against such institution if:
                   (a) The institution gave or made available material harmful to
                   minors, or the institution failed to take reasonable steps to
                   restrict access by minors to material harmful to minors;
                   (b) Prior to the filing of a cause of action, the minor, parent, or
                   legal guardian has provided written notice to the school or
                   public library asking for the relocation of such material to a
                   section designated for adults only within sixty (60) days of
                   receipt of the written notice; and


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                     (c) Upon receipt of written notice and subsequent to the
                     expiration of sixty (60) days, the institution's library board or
                     board of trustees failed to relocate the material harmful to
                     minors to an area with adult access only.
                  (4) Any minor, parent, or legal guardian who prevails in an action
                  brought under this section may recover two hundred fifty dollars
                  ($250) in statutory damages as well as actual damages and any
                  other relief available by law, including but not limited to injunctive
                  relief sufficient to prevent the defendant school or public library
                  from violating the requirements of this section.

§ 18-1517B(3), (4).

       132.       Through the Citizen Enforcement Provision, the State has empowered any parent

or minor who disapproves of the content of a work to demand that the work be segregated from

all minors.

       133.       If a Private Entity Plaintiff disagrees with the content-based assessment of the

parent or minor and declines to segregate the challenged material, the parent or minor is

authorized to file a civil suit against the Private Entity Plaintiff and incentivized to do so by a

cash reward and the availability of “actual damages.”

       134.       The Citizen Enforcement Provision will impose the views of the most sensitive

parents and minors on all those who attend the private school or patronize the privately funded

public library.

       135.       Finally, under the Citizen Enforcement Provision, a complainant is authorized to

seek injunctive relief that extends beyond a specific alleged violation of the Substantive

Prohibition to include “injunctive relief . . . sufficient to prevent the defendant school or public

library from violating the requirements of this section.” § 18-1517B(4).

       136.       The apparent breadth of the remedy available to a citizen complainant is

particularly threatening given the absence of any scienter requirement in the Substantive

Prohibition.


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                  iii. The Government Enforcement Provision

       137.    The Government Enforcement Provision provides Defendants with a cause of

action to enjoin private parties, including the Private Entity Plaintiffs, from violating the Act.

       138.    The Government Enforcement Provision provides in full:

               A county prosecuting attorney or the attorney general shall have a
               cause of action for injunctive relief against any school or public
               library that violates the provisions of [§ 18-1517B(2)]. The
               injunction shall be sufficient to prevent the defendant school or
               public library from violating the requirements of this section.

§ 18-1517B(5).

       139.    Unlike the Citizen Enforcement Provision, the Government Enforcement

Provision does not require Defendants to provide Private Entity Plaintiffs with notice or an

opportunity to cure before seeking an injunction against them in an Idaho state court.

       140.    Rather, Defendants are authorized to enforce the vague and overbroad language of

H.B. 710 immediately upon learning of a purported violation of § 18-1517B(2).

       141.    Litigation under the Government Enforcement Provision will be costly and lead to

reputational damage, even if the private entity eventually prevails.

       142.    Further, the Government Enforcement Provision permits Defendants to seek an

injunction against a Private Entity Plaintiff for any violation of the Substantive Prohibition,

including but not limited to those that do not involve a minor being exposed to, much less taking

possession of, content disfavored by the State. For example, Defendants may seek an injunction

against a Private Entity Plaintiff for merely “agree[ing]” to “exhibit” a work that contains

disfavored content.

       143.    Finally, under the Government Enforcement Provision, the Defendants are

authorized to seek injunctive relief that extends beyond a specific alleged violation of the




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Substantive Prohibition to include an “injunction . . . sufficient to prevent the defendant school or

public library from violating the requirements of this section.” § 18-1517B(5).

       144.    The apparent breadth of the remedy available to the Defendants is particularly

threatening given the absence of any scienter requirement in the Substantive Prohibition.

                  iv. The “Adults Only” Provisions

       145.    The Act’s vagueness and overbreadth is exacerbated by the absence of any

definition for the terms “designated for adults only” and “adult access only,” as used in § 18-

1517B(3)(b) and (c), respectively (collectively, the “Adults Only Provisions”).

       146.    The two phrases have materially distinct plain meanings. The former requires

only the “designat[ion]” of an area as “for adults only,” whereas the latter appears to impose

additional obligations to limit minors’ ability to “access” materials with disfavored content.

       147.    Notwithstanding this plain difference in meaning, the structure of the Act

indicates that the Act’s drafters intended the Adults Only Provisions to have the same meaning.

       148.    Whatever the Legislature intended to convey with the Adults Only Provisions,

they put the Private Entity Plaintiffs to an unconstitutional choice. Because the Private School

Plaintiffs possess books, art, recordings, and other material in furtherance of their mission to

educate minors, the segregation of any such materials into an “adults” section is equivalent to

removing those materials from the school altogether. If the Private School Plaintiffs fail to

segregate challenged material in this way, thereby denying access to all students in the school,

they face expensive lawsuits that drain their resources and distract from their constitutionally

protected missions.

       149.    This lack of clarity also puts the Library Plaintiffs to an unconstitutional choice.

The Library Plaintiffs do not maintain any part of their collections in segregated areas limited to




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“adult access only.” They also do not wish to divert resources from their constitutionally

protected missions to create areas of their libraries that can be accessed by adults only. Such

areas would signal disapproval of the content contained in the materials stored therein.

Accordingly, the Library Plaintiffs must either remove challenged material altogether, segregate

it in areas that infringe on the First Amendment rights of the libraries and their adult patrons, or

face the threat of expensive lawsuits that will drain their resources and distract from their

constitutionally protected missions.

     IV.      Unfounded Accusations About Schools and Libraries Create a Substantial
              Threat of Enforcement

           150.   The Private Entity Plaintiffs face a substantial and immediate threat of

enforcement under the Act, which gives rise to a grave danger of self-censorship. 11

           151.   H.B. 710 is the product of a social climate in Idaho (and elsewhere) in which

schools and libraries have been inaccurately and unfairly castigated and villainized for using and

making available constitutionally protected materials with content that the State and some

Idahoans disapprove of.

           152.   For example, following a January 2024 public hearing on H.B. 384—a

substantively identical predecessor to H.B. 710—an elected official in Idaho asserted in a press

release that individuals who testified in opposition to the bill believe “that children should be

exposed to obscene and pornographic materials.” 12 In the same statement, the official suggested

that in Idaho “children [are] stumbling upon hardcore porn in schools and libraries,” that



11
  Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 393 (1988), certified question answered
sub nom. Commonwealth v. Am. Booksellers Ass’n, Inc., 236 Va. 168 (1988).
12
  Dorothy Moon, Idaho Republicans are Standing up for Children’s Innocence, IDAHOGOP
(Jan. 18, 2024), https://idgop.org/2024/01/18/idaho-republicans-are-standing-up-for-childrens-
innocence.


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“[t]oday, people are writing and publishing things aimed at children that would have gotten them

arrested just a few years ago,” and that “misguided people in our schools and libraries are

facilitating this filth.” 13

           153.      A political party official in Idaho, testifying in support of H.B. 384, claimed that

“obscene materials . . . are in libraries and schools in Idaho,” and “[r]esearch shows that

wherever sexually explicit obscene materials are available, rape, murder, and child molestation

increase. This means the risk goes up that I, one of my five children, one of your children could

be raped, murdered, or molested.” 14

           154.      In April 2023, a county sheriff in Idaho entered a public library with his body-

worn camera with an individual who proceeded to identify books with content to which she

objected. 15 While in the library, the individual provided printed excerpts of certain books to the

sheriff for his review. During the visit, the individual showed the sheriff excerpts from several

books, including one graphic novel in which a female character “kisses both male and female to

figure out what she likes” and another with an “intentionally very androgenous [male] character”

who “prefers boys.” 16 After showing the sheriff parts of the latter graphic novel, the individual

asked, “is this necessary? Illegal, no. Unnecessary, yes.” 17 She compared certain books to “an

old fashion guy in a van with a bowl of candy, trying to entice. . . .” 18 The individual


13
     Id.
14
     Id.
15
  Michelle Zenarosa, This Idaho sheriff thinks he had the right to raid your library and decide
what you read, Reckon (Feb. 28, 2024), https://www.reckon.news/news/2024/02/this-idaho-
sheriff-thinks-he-has-the-right-to-raid-your-library-and-decide-what-you-can-read.html.
16
   404 Media, 4 20 23 Hayden Library 1, Reckon, at 31:20 (Feb. 25, 2024),
https://www.youtube.com/watch?v=pFsrgmKHZiE.
17
     Id. at 31:50.
18
     Id. at 48:18.


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acknowledged that she had not read all of books on her group’s list of objectionable books, and

that she relied on lists created by other “concerned citizens,” including the list of “books that

have been objected to, restricted, or banned in schools or public libraries all over the country.” 19

          155.       A religious and political advocacy group based in Idaho (the “Group”) has

distributed a report called “Pornography in Public Schools and Libraries: A Statewide Problem”

(the “Report”), which contains a list of five books that the group asserts “courts would likely

consider ‘obscene’ for children and teenagers” (the “List”).

          156.       The List includes It’s Perfectly Normal: Changing Bodies, Growing Up, Sex, and

Sexual Health, an award-winning work of non-fiction intended to inform minors about puberty,

sex, sexual health, and related issues. It was first published in 1994, it has been updated several

times, it has been translated into dozens of languages, and it has sold millions of copies.

          157.       The Ninth Circuit has previously considered the content of It’s Perfectly Normal

and concluded it is not obscene, notwithstanding the Report’s assertion to the contrary. The

Ninth Circuit has explained that It’s Perfectly Normal is “a sexual education book containing

simple line drawings that include non-obscene but unmistakable images of sexual intercourse

and masturbation. As its subtitle indicates, the book provides frank information about ‘changing

bodies, growing up, sex & sexual health,’ and thus [it] does not lack serious scientific value even

for children under the age of thirteen.” 20

          158.       The Report also includes an appendix that lists Idaho libraries with one or more

books from the List in their collection. Plaintiff The Community Library is included on the list.




19
     Id. at 46:00.
20
     Powell's Books, 622 F.3d at 1213–14.


                                                     34
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        159.    On the Group’s website, it purports to have identified thirty cities in Idaho,

(including Boise and Ketchum) with schools and/or libraries “where pornographic books can be

accessed by children.” 21

        160.    In the “comments” section of that webpage, one commenter asked, “Is it possible

to get separate lists for schools and libraries. I’d like to know more specifically who to target in

my community.” Another commenter urged others to go to their local library to “check out

every book at the ‘Pride Month’ display” and to “keep renewing” to “make[] a statement and

take[] disturbing books away from children.”

        161.    In January 2023, a group in northern Idaho organized a petition in an effort to

prevent a public library from selecting any book for its “Kid’s Book Club” that contains

LGBTQ+ characters. The request was occasioned by the inclusion in the Book Club of a book

with a lesbian character. 22

        162.    Another group in northern Idaho has identified books, many written for “young

adults, that the group claims are “obscene” and “pornographic.” Prior to the enactment of H.B.

710, the group’s website included a page that poses the question “What qualifies as ‘obscene’

and ‘pornographic’”? As of February 5, 2024, the group’s website answered that question with

dictionary definitions that emphasized subjective disapproval and bore no relationship to the

Miller test. The group’s website defined “obscene” to mean “disgusting to the senses,”

“abhorrent to morality or virtue,” “containing or being language regarded as taboo in polite


21
  Kelly Cope, Here’s the list of schools and libraries distributing smut to children, Idaho Family
Policy Center (Feb. 22, 2023), https://idahofamily.org/heres-the-list-of-schools-and-libraries-
distributing-smut-to-children/.
22
   Billy Buley, Coeur d’Alene group starts petition asking library to stop using LGBTQ+ books
content for Kid's Book Club selections, KREM (Jan. 27, 2023 11:30 AM),
https://www.krem.com/article/news/education/coeur-dalene-petition-lgbtq-books-content-kids-
book-club/293-f415c5c8-faf9-4a41-b3ae-da17dbb51880.


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usage,” “repulsive by reason of crass disregard of moral or ethics principles,” or “so excessive as

to be offensive.” 23 The group’s website currently asks, “What qualifies as ‘obscene’ and

‘harmful to minors’?” and it includes a link to § 18-1514. 24

          163.   Another Idaho-based group asserts on its website that one Idaho public library had

“at least 53 sexually-explicit and/or inappropriate books,” and complained falsely that “schools,

libraries, museums, and colleges/universities, and their employees, are EXEMPTED from

criminal prosecution for disseminating material harmful to minors.” 25

          164.   As a result of statements and incidents like these—including ones that have not

been publicly reported upon—the Private Entity Plaintiffs fear that Defendants and private

citizens will seek to enforce H.B. 710 using the Review Provision, the Government Enforcement

Provision, and the Citizen Enforcement Provision, thereby infringing on the Private Entity

Plaintiffs’ constitutional rights.

     V.      The Private Entity Plaintiffs Fear They Will Face Enforcement Actions for
             Engaging in Constitutionally Protected Conduct and Speech

          165.   NWAIS’s rigorous accreditation standards are incompatible with H.B. 710’s

vague and overbroad content-based prohibition. For example, H.B. 710 is incompatible with

NWAIS’s members’ commitment to “free and open inquiry” insofar as H.B. 710 fails to exempt

from its strictures all works that have serious literary, artistic, political, or scientific value for

minors. H.B. 710’s Act of Homosexuality Clause is also inconsistent with its members’


23
   How Did We Get Here?, CleanBooks4Kids.com,
https://web.archive.org/web/20240205030133/https://www.cleanbooks4kids.com/how-did-we-
get-here (webpage archived on Feb. 5, 2024).
24
 How Did We Get Here?, CleanBooks4Kids.com, https://www.cleanbooks4kids.com/how-did-
we-get-here (last visited July 23, 2024).
25
   Parents Against Bad Books, Idaho Parents for Educational Choice,
https://www.idahoparentsforeducationalchoice.com/general-1 (last visited July 22, 2024).


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commitment to “embrace diverse perspectives, cultures, backgrounds and identities” and to non-

discrimination, including on the basis of sexual orientation.

       166.    SVCS’s approach to education emphasizes inquiry-based learning and the

application of critical thinking. Within the framework of a college-preparatory curriculum,

SVCS encourages students to pursue their personal interests and passions with energy and

conviction. It also encourages students to develop a global perspective and to learn about and

understand different traditions and ways of thinking.

       167.    To further these objectives, SVCS makes materials available to its students that

may differ from those found in Idaho public schools and some other private schools.

       168.    Some constitutionally protected, non-obscene materials that SVCS has made

available to students in the past, and that it intends to make available to students in the future,

appear to fall within the scope of H.B. 710.

       169.    For example, certain middle and upper school science courses at SVCS use

textbooks that contain “nudity” and “sexual conduct” as those terms are defined in H.B. 710.

Certain middle and upper school arts and humanities courses also rely on source material that

contain “nudity” as that term is defined in H.B. 710.

       170.    As a part of the school’s social-emotional learning program, SVCS also provides

age-appropriate health and sex education programs for its lower school, middle school and high

school students. This includes presentations to 8th-grade students about pregnancy, sexually

transmitted infections, suicide awareness and substance refusal. The materials that accompany

these programs also contain “nudity” and/or “sexual conduct” as those terms are defined in H.B.

710.




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       171.    In advance of the health education presentations to 8th-grade students, SVCS

sends a letter home to parents and guardians describing the units in detail and providing all

presentation materials. Parents and guardians are given the opportunity to raise questions with

the school or to have their child “opt-out” of the program if the parent or guardian wishes for

their child to do so. On the rare occasions in which parents have expressed concerns about the

health education program or any other aspects of the SVCS curriculum, SVCS has worked out

solutions directly with the parents involved without any need for intervention by the State.

       172.    SVCS is aware from the scope of H.B. 710 that the State disapproves of the

content found in some of the materials described in the preceding paragraphs. SVCS is also

aware that some Idahoans are subjectively offended by such content. Accordingly, SVCS is

concerned that it may be subject to complaints or enforcement proceedings as a result of H.B.

710.

       173.    SVCS’s concerns are exacerbated by H.B. 710’s vagueness and its civil

enforcement provision. Because H.B. 710 does not clearly define what “harmful to minors”

means, SVCS, the State, and members of the public cannot know with any degree of certainty

what materials fall within the scope of the law. The Act’s vagueness, coupled with the fact that

any member of the public—including individuals unaffiliated with SVCS—can demand a

“review” of materials SVCS uses in its curriculum or library, gives rise to a reasonable fear that

SVCS will be subject to litigation under H.B. 710, even if such litigation is frivolous.

       174.    As a non-profit, SVCS has limited resources to engage in such litigation.

Engaging in such litigation would also require SVCS to divert resources away from its core

educational activities.




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        175.    SVCS is also concerned that removing materials from its curriculum or school

libraries in an effort to comply with H.B. 710 could risk SVCS’s accreditation status with

NWAIS. In particular, SVCS is concerned that attempting to comply with H.B. 710 could run

afoul of NWAIS’s accreditation standards concerning free inquiry, diversity and non-

discrimination.

        176.    Foothills offers an independent, progressive education that focuses on project-

based learning experiences. Foothills believes that its students should identify and pursue their

own areas of interest and seek to understand real-world issues, while at the same time mastering

academic benchmarks.

        177.    Consistent with Foothills’ approach to pedagogy, the books, art and other

materials it makes available to its students may reflect a wider variety of subjects and contain

more diverse content than the materials found in public schools and some other private schools.

Foothills encourages its experienced and dedicated teachers to assemble classroom library

collections meant to inspire student inquiry, consistent with the students’ educational, social and

emotional development, and in service of achieving appropriate academic benchmarks. Because

Foothills encourages this type of student-driven inquiry, the materials made available to students

within each grade level vary from year to year.

        178.    Some constitutionally protected, non-obscene materials that Foothills has made

available to students in the past, and that it intends to make available to students in the future, fall

within the scope of H.B. 710.

        179.    For example, Foothills deliberately makes available to its students materials that

reflect and celebrate the diverse experiences of its community of parents and students.

Beginning at the early childhood level, Foothills makes available to students materials that depict




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same-sex characters engaged in non-sexual and non-obscene activities, including parenting and

living together as a family. Older students have access to age-appropriate materials that depict

same-sex characters kissing, holding hands, and engaging in other non-obscene conduct. Some

of these materials include descriptions or depictions of “act[s] of . . . homosexuality” as that

overbroad and undefined phrase is used in H.B. 710.

       180.    Further, Foothills makes available to its students works of serious artistic and

literary value that contain descriptions or depictions of content that appears to fall within the

scope of H.B. 710. For example, teachers at Foothills have in the past provided students with

celebrated works of art that depict “nudity” as that term is defined in the Act. Foothills teachers

have also made available to students non-obscene works of fiction and non-fiction that address

sexual assault in ways that appear to fall within H.B. 710’s vague and overbroad prohibition.

       181.    Foothills also provides its students with age-appropriate health education that is

not derived from or limited by the policy statement found in Idaho Statutes § 33-1608 (“Family

Life and Sex Education – Legislative Position”). The health education curriculum at Foothills

includes lessons concerning puberty for older elementary school students and lessons concerning

sexual health for junior high students.

       182.    Foothills’ health education curriculum includes non-obscene materials with

content that falls within the definitions of “sexual conduct” and “sexual excitement” as those

terms are used in H.B. 710.

       183.    Foothills, at its discretion, communicates a summary of some health education

lessons to the parents of its students, so that parents may answer students’ questions and

otherwise continue the discussion of these important issues with their children at home.




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        184.    Foothills is aware from the scope of H.B. 710 that the State disapproves of the

content found in some of the materials described in the preceding paragraphs. Foothills is also

aware that some Idahoans are subjectively offended by such content. Accordingly, Foothills is

concerned that it may be subject to complaints or enforcement proceedings as a result of

H.B. 710.

        185.    Foothills’ concerns are exacerbated by the law’s vagueness and its civil

enforcement provision. Because H.B. 710 does not clearly define what “harmful to minors”

means, Foothills, the State, and members of the public cannot know with any degree of certainty

what material falls within the scope of the law. This vagueness, coupled with the fact that any

member of the public—including individuals unaffiliated with Foothills—can demand a

“review” of materials Foothills uses in its curriculum or library, gives rise to a reasonable fear

that Foothills will be subject to litigation under H.B. 710, even if such litigation is frivolous.

        186.    As a non-profit corporation, Foothills has limited resources to engage in such

litigation. Engaging in such litigation would also require Foothills to divert resources away from

its core educational activities.

        187.    Foothills is also concerned that removing materials from its curriculum or school

libraries in an effort to comply with H.B. 710 could risk Foothills’ accreditation status with

NWAIS. In particular, Foothills is concerned that attempting to comply with H.B. 710 could run

afoul of NWAIS’s accreditation standards concerning free inquiry, diversity and non-

discrimination.

        188.    The Community Library endeavors to apply the highest professional standards to

its acquisition and collection maintenance activities. The library is committed to providing wide

access to information deriving from many cultural backgrounds, social values, and beliefs and to




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providing opportunities for its patrons to explore content that might be controversial,

unorthodox, or unacceptable to others.

        189.   Consistent with that mission, The Community Library has works in its collection

that contain descriptions or depictions that fall within the scope of H.B. 710 and that some

members of the community might find personally and subjectively offensive, including, but not

limited to, books with LGBTQ+ characters, books addressing sexual assault, and science and art

books that contain nudity.

        190.   H.B. 710 is also vague, overbroad, and impractical as applied to The Community

Library’s online resources.

        191.   The library provides free Internet access on its 15 computer terminals and free

wireless Internet, which visitors may use to access the Internet from their personal devices. The

terminals and wireless Internet are available for use by adult and minor patrons, and a patron

need not have a library card to use the library’s terminals or wireless Internet. The library does

not control the content of the Internet and, consistent with its mission to encourage free inquiry,

it does not censor the online materials that may be accessed on its terminals or over its wireless

Internet.

        192.   Indeed, The Community Library cannot practicably implement the content-based

restrictions of H.B. 710 with respect to the library’s provision of Internet access on its terminals

and over its wireless Internet, and any effort to implement the State’s content-based restrictions

would impose a substantial burden on adults’ and minors’ ability to access materials on the

Internet.

        193.   Similarly, The Community Library offers patrons access to more than 58,000

digital works through private companies with which the library contracts. Patrons may access




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digital works from any Internet-enabled device, including the library’s 15 computer terminals, a

personal computer or smartphone connected to the library’s wireless Internet, or from a computer

or smartphone in the user’s home. The library does not control the content made available by the

private e-book providers with which it contracts, and the library is unwilling to request that

private e-book providers limit their offerings to comply with the vague and overbroad

prohibitions of H.B. 710.

       194.    The Community Library has limited resources to defend its collection against

claims under H.B. 710. The Community Library has 30 full-time and 12 part-time staff

members, and it cannot afford to fund litigation to defend its provision of works that are

protected by the First Amendment with resources that would otherwise be allotted to its core

educational mission.

       195.    The Community Library’s concerns about potential litigation related to H.B. 710

are also exacerbated by the law’s vagueness and its civil enforcement provision. Because H.B.

710 does not clearly define what “harmful to minors” means, The Community Library, the State,

and members of the public cannot know with any degree of certainty what material falls within

the scope of the law. This vagueness, coupled with the fact that any member of the public—

including individuals unaffiliated with The Community Library—can demand a “review” of

materials in the library’s collection, gives rise to a reasonable fear that The Community Library

will be subject to litigation under H.B. 710, even if such litigation is frivolous.

       196.    Collister makes available a variety of books in its lending library that involve

LGBTQ+ characters and themes as part of its commitment to be a Reconciling Ministry. That

includes, but is not limited to, books geared towards adults that discuss the treatment of




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LGBTQ+ people and topics in religious scriptures, as well as books geared towards children that

involve non-sexual depictions of same-sex couples co-parenting and cohabitating.

        197.    Even though the books in Collister’s lending library are constitutionally protected

and not obscene, they appear to contain “act[s] of . . . homosexuality” as that term is used in H.B.

710.

        198.    Collister makes the books in its collection available on a shelf that was crafted by

one of its congregants. Collister has deliberately placed the shelf in the welcome area of the

church, near the building’s entrance, along with a copy of the church’s Reconciling Ministry

statement, to reiterate that welcoming and affirming LGBTQ+ community members is central to

Collister’s mission.

        199.    Any member of the public can borrow the books, provided they sign their name

on a sign-out sheet.

        200.    Collister is aware that the State and some Idahoans disapprove of some of the

material in Collister’s library and Collister therefore reasonably fears that it will be subject to

litigation as a result of H.B. 710.

        201.    Collister’s concerns are exacerbated by the law’s vagueness and its civil

enforcement provision. Because H.B. 710 does not clearly define what “harmful to minors”

means, Collister, the State, and members of the public cannot know with any degree of certainty

what material falls within the scope of the law. This vagueness, coupled with the fact that any

member of the public—including individuals unaffiliated with Collister—can demand a “review”

of materials in Collister’s lending library, gives rise to a reasonable fear that Collister will be

subject to litigation under H.B. 710, even if such litigation is frivolous.




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          202.   As a non-profit corporation, Collister has limited resources to engage in such

litigation. Engaging in such litigation would also require Collister to divert resources away from

core church activities.

          203.   Collister also cannot create an “adults only” section for material that the State or

some Idahoans may disapprove of or find offensive. Collister’s church lacks the physical space

for such a section and the resources to reliably monitor access to such a section. Moreover,

creating such a section would cast opprobrium over the materials, undermining the inclusive and

welcoming message that Collister is attempting to send by including the materials in its lending

library in the first place.

    VI.      H.B. 710 Violates Parent Plaintiffs’ Substantive Due Process Rights

          204.   The Parent Plaintiffs have exercised their fundamental liberty interest to direct

their children’s education by selecting a private school over State-controlled public schools.

          205.   Parent Plaintiff Mary Hollis Zimmer’s child is a rising 11th-grade student at

SVCS. Ms. Zimmer chose SVCS for her child’s education because she believes in the school’s

mission and its approach to education. She prefers SVCS’s educational approach, including the

materials it makes available to students, to that of the State-controlled public schools. She is

actively involved in helping to shape students’ experience at SVCS, including by currently

serving on the school’s Board of Trustees and previously holding leadership positions on the

school’s Parents’ Association.

          206.   Ms. Zimmer wants her child to be able to access all of the materials SVCS wishes

to make available to her child without undue interference from the State.

          207.   For instance, Ms. Zimmer wants her child to be able to access all of the materials

that SVCS determines are appropriate for her child’s education—particularly with regard to




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science, art, and health education—even if those materials contain content that meets the

definition of “nudity” or “sexual conduct” as those terms are defined in H.B. 710. She also

wants her child to be able to access materials SVCS wishes to make available to her child that

address LGBTQ+ themes and content even if those materials contain “act[s] of . . .

homosexuality” as that term is used in H.B. 710. Ms. Zimmer understands that SVCS has

already made some such material available to her child and she wishes SVCS to continue to have

the ability to do so.

        208.    H.B. 710 violates Ms. Zimmer’s fundamental right to direct her child’s education

by imposing the State’s content-based preferences on SVCS. H.B. 710 impedes SVCS’s ability

to educate her child consistent with its mission and Ms. Zimmer’s wishes.

        209.    Parent Plaintiff Matthew Podolsky’s child is a rising 5th-grade student at

Foothills. Mr. Podolsky chose to send his child to Foothills because he believes in the school’s

approach to early childhood education. In particular, Mr. Podolsky values the emphasis the

school places on social emotional learning and development, and the ways in which the school

incorporates its students’ interests into its curriculum.

        210.    Mr. Podolsky believes that all children regardless of whether they attend public or

private school should be able to access all constitutionally protected, non-obscene material that

their teachers or schools believe are appropriate for their educational development. As a parent

of a child at Foothills, he wants his child to be able to access the materials that Foothills has

determined are appropriate for his child’s education without undue interference from the State.

        211.    For instance, Mr. Podolsky wants his child to be able to access books and other

materials addressing LGBTQ+ people and themes, as well as materials relevant to art or science

that contain “nudity” as that term is defined in H.B. 710. Mr. Podolsky understands that




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Foothills has already made some such material available to his child. As his child gets older, he

also wants his child to receive the health and sex education curriculum that Foothills makes

available to its students, even if the curriculum includes “nudity” or “sexual conduct” as those

terms are defined in H.B. 710.

       212.    H.B. 710 violates Mr. Podolsky’s fundamental right to direct his child’s education

by imposing the State’s content-based preferences on Foothills. H.B. 710 impedes Foothills’

ability to educate his child consistent with its mission and Mr. Podolsky’s wishes.

       213.    Parent Plaintiff Christina Leidecker and each of her minor children, including

Plaintiff S.L., have library cards with which they may borrow books from The Community

Library’s physical and digital collections. Ms. Leidecker has visited The Community Library

regularly over the last 30 years, on her own and with one or both of her minor children.

       214.    Ms. Leidecker shares The Community Library’s commitment to free inquiry and

trusts the staff at The Community Library to make curatorial choices about the materials it makes

available to its adult and minor patrons. She values the library’s independence from the State

and its ability to make decisions about the holdings in its catalog free from State interference,

and without regard to the State’s content-based preferences.

       215.    Ms. Leidecker also values the diverse array of materials that The Community

Library makes available to her and her minor children. She regularly browses the library’s

physical and digital holdings, and she has checked out hundreds of books in her 30 years as a

library patron, including some that contain descriptions and depictions of “nudity” and “sexual

conduct,” as those terms are defined in H.B. 710.

       216.    She also encourages her minor children, including Plaintiff S.L., to freely explore

the library’s contents and to check out materials that interest them. Ms. Leidecker is aware that




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her minor child, S.L., has checked out materials that contain descriptions or depictions of

“nudity” and “sexual conduct,” as those terms are defined in H.B. 710. Ms. Leidecker has

regular discussions with her minor children, including S.L., about the materials that they have

checked out from The Community Library and is available to answer any questions that arise.

       217.    It is particularly important to Ms. Leidecker that same-sex couples and families in

her community are supported and respected like any other family. To that end, it is important to

Ms. Leidecker that her minor children, including S.L., have access to books that depict and

describe LGBTQ+ characters without stigma. Ms. Leidecker is aware that The Community

Library has many such books, and she wants those books to remain available to her minor

children, irrespective of the State’s content-based disapproval.

       218.    Ms. Leidecker wishes to receive all constitutionally protected materials that The

Community Library wishes to make available to her, free from any content-based stigma

imposed by H.B. 710. Ms. Leidecker also wishes to exercise her right to direct the upbringing

and education of her minor children, including S.L., by making available to them all

constitutionally protected, non-obscene materials that The Community Library wishes to make

available to minors, without regard to the content-based preferences expressed in H.B. 710.

   VII.    H.B. 710 Violates Minor Plaintiffs’ Right to Receive Constitutionally Protected
           Materials

       219.    H.B. 710 infringes Minor Plaintiffs’ right to receive constitutionally protected

material that their parents wish for them to access and that the Private Entity Plaintiffs wish to

make available to them.

       220.    For example, A.W. wishes to receive the educational materials selected for

students by the Private School, which her parents selected for her education, without interference

from the State. Mr. Wallace and A.W. are aware that the materials that are included in her



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curriculum and school library undergo a rigorous screening process that involves review by the

Private School’s administration, and there is already a system in place that gives parents the

opportunity to raise concerns about particular materials. A.W. fears that the imposition of an

overbroad and vague law that extends beyond the State’s constitutional authority, coupled with

its civil enforcement provision, will result in the removal of non-obscene materials that have

important educational value to her.

       221.    Indeed, there are books that the Private School currently makes available to

students, including A.W., that fall within the scope of H.B. 710.

       222.    For example, A.W. read Maya Angelou’s award-winning, best-selling

autobiography I Know Why the Caged Bird Sings after checking it out from the Private School’s

library. A.W. is aware that I Know Why the Caged Bird Sings contains a description of a sexual

assault that appears to fall within the definitions of “sexual conduct,” “sexual excitement,” and

“sado-masochistic abuse,” as those terms are defined in the Act. A.W. is also aware that some

people find that aspect of I Know Why the Caged Bird Sings subjectively offensive and have

called for its removal from school libraries.

       223.    A.W. has discussed the book with her parent, Mr. Wallace, and he has indicated

his support for her access to the book. Because both the Private School and her parent, Mr.

Wallace, wish for A.W. to have access to I Know Why the Caged Bird Sings, A.W. wishes to

have access to it notwithstanding the State’s content-based preferences expressed in H.B. 710.

       224.    A.W. also borrowed Impressionism by Karen H. Grimme and Norbert Wolf, a

book about French Impressionist painting, from the Private School’s library in preparation for a

school-sponsored trip A.W. took to France. In Impressionism, A.W. viewed images of French

Impressionist paintings that contain “nudity” as that term is defined in H.B. 710.




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       225.    A.W. has discussed Impressionism with her parent, Mr. Wallace, and he has

indicated his support for her access to the book. Because both the Private School and her parent,

Mr. Wallace, wish for A.W. to have access to Impressionism, A.W. wishes to have access to it

notwithstanding the State’s content-based preferences expressed in H.B. 710.

       226.    A.W. and her parent, Mr. Wallace, believe that Impressionism and I Know Why

the Caged Bird Sings have serious literary, artistic, and political value for A.W., given her age

and maturity. A.W. wishes to continue to be able to access these and similar materials, which

her school has determined are appropriate for her age and maturity level. This is particularly

important to A.W. as she enters upper-level high school courses and prepares for college.

       227.    S.L. has been a patron of The Community Library since her mother, Plaintiff

Christina Leidecker, began bringing S.L. to The Community Library when S.L. was a small

child. S.L. has visited The Community Library regularly since then, often with a parent and, in

recent years, on her own. S.L. received a library card in her own name from The Community

Library when she was three years old.

       228.    S.L. has checked out more than 1,100 books from The Community Library’s

physical collection and dozens of e-books and other digital materials from The Community

Library’s online collection.

       229.    S.L has checked out physical and digital works from The Community Library that

contain content that appears to fall within the scope of H.B. 710, including books that contain

descriptions and depictions of “nudity” and “sexual conduct,” as those terms are defined in H.B.

710. The books that S.L. has read, including those that contain content described in H.B. 710

and disfavored by the State, have helped her to better understand the world, other people, and her

own experiences growing up.




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          230.   S.L. values The Community Library’s dedication to free inquiry and the breadth

of the library’s collection of physical and digital works. She also values the physical layout of

the library, including her ability to browse in the children’s section, the young adult section, and

the adult section, and to discover books from all three sections that pique her interest and inspire

her. With the knowledge and consent of Ms. Leidecker, S.L. has checked out books from The

Community Library’s children’s section, young adult section, and adult section. S.L. is aware

that Ms. Leidecker is available to discuss any questions raised by the books she selects.

          231.   S.L. is aware that The Community Library’s collection includes physical and

digital works that she has not yet read that contain content described in H.B. 710 that is

disfavored by the State. S.L. wishes to have access to all materials that The Community Library

wishes to make available to her, without regard to the State’s content-based preferences

expressed in H.B. 710.

                                      CLAIMS FOR RELIEF

      COUNT ONE - First Amendment, Overbreadth and Content-Based Restriction
             (NWAIS and Private Entity Plaintiffs against all Defendants)

          232.   All prior paragraphs are incorporated herein by reference as if fully set forth

herein.

          233.   The Private Entity Plaintiffs are private, non-profit corporations that possess First

Amendment rights. Citizens United v. Fed. Election Comm'n, 558 U.S. 310, 342 (2010). For

SVCS and Foothills that includes a First Amendment right to select the materials they wish to

include in their school libraries and their curricula. For The Community Library and Collister,

that includes a First Amendment right to curate their collections and to determine the placement

of books within their libraries.




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       234.    H.B. 710 infringes the Private Entity Plaintiffs’ First Amendment rights by

regulating substantially more speech than the First Amendment permits. See Powell's Books,

622 F.3d at 1208; Moody v. NetChoice, LLC, 144 S. Ct. 2383, 2397 (2024). For example, H.B.

710 fails to incorporate Miller’s Serious Value Requirement; it focuses on individual

descriptions and depictions of disfavored content without regard to the works in which those

descriptions or depictions are found; it is not limited to works that predominantly appeal to the

prurient interest of minors; it restricts descriptions and depictions of innocuous, non-obscene,

and non-sexual conduct, including non-sexual descriptions and depictions of same-sex couples;

and it deprives older minors and adults access to constitutionally protected material.

       235.    In the alternative, H.B. 710 violates the Private Entity Plaintiffs’ First

Amendment rights by imposing a content-based restriction on “the topic[s] discussed, or the

idea[s] or message[s] expressed” in the materials the Private Entity Plaintiffs may make available

to minors. Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015); Boyer v. City of Simi Valley, 978

F.3d 618, 621 (9th Cir. 2020). In particular, H.B. 710 impermissibly regulates the availability of

constitutionally protected, non-obscene material based on whether the material contains certain

content like nudity, sexual conduct, or acts of homosexuality. But see Erznoznik, 422 U.S. at

211. This content-based restriction is unconstitutional because it is neither narrowly tailored nor

the least restrictive means of accomplishing a compelling government interest.

       236.    H.B. 710’s deficiencies under the First Amendment are exacerbated by the law’s

vagueness which makes it impossible for the Private Entity Plaintiffs to determine the scope of

what material the law prohibits. For example, the law’s failure to concretely define the term

“harmful to minors”—instead, providing what the term “includes” and not what it “means”—




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threatens the Private Entity Plaintiffs with enforcement proceedings for exercising their First

Amendment rights. Reno v. ACLU, 521 U.S. at 871–72.

                      COUNT TWO - Fourteenth Amendment, Vagueness
                    (NWAIS and Private Entity Plaintiffs against all Defendants)

          237.   All prior paragraphs are incorporated herein by reference as if fully set forth

herein.

          238.   “In our constitutional order, a vague law is no law at all.” United States v. Davis,

588 U.S 445, 447 (2019). A law is “void for vagueness if its prohibitions are not clearly

defined.” Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). A law is impermissibly vague

if it either “fails to provide people of ordinary intelligence a reasonable opportunity to

understand what conduct it prohibits” or “authorizes or even encourages arbitrary and

discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703, 732 (2000).

          239.   “[V]agueness concerns are more acute when a law implicates First Amendment

rights, and, therefore, vagueness scrutiny is more stringent.” Butcher v. Knudsen, 38 F.4th 1163,

1169 (9th Cir. 2022). When First Amendment freedoms are implicated, a statute must provide a

“greater degree of specificity and clarity than would be necessary under ordinary due process

principles.” California Tchrs. Ass'n v. State Bd. of Educ., 271 F.3d 1141, 1150 (9th Cir. 2001).

          240.   H.B. 710 is unconstitutionally vague on its face with respect to NWAIS and the

Private Entity Plaintiffs because it fails to provide fair notice of what materials private K-12

schools and privately funded public libraries, including the Private Entity Plaintiffs, may make

available to minor students and patrons; and because the Act invites and encourages arbitrary and

discriminatory content-based enforcement based on the subjective sensitivities of the

Defendants, and the parents and minors charged with enforcing the Act.




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                 COUNT THREE - First Amendment, Adult Patron Right to Receive
                   (Plaintiff Leidecker against Defendants Labrador and Fredback)

          241.     All prior paragraphs are incorporated herein by reference as if fully set forth

herein.

          242.     As an adult patron of The Community Library, Ms. Leidecker has a First

Amendment right to view and checkout materials in the library’s collection that are not obscene

as to her.

          243.     H.B. 710 violates that right by subjecting The Community Library’s contents to

the community standards of appropriateness that apply to the library’s youngest minor patrons.

In particular, any non-obscene material that The Community Library removes in order to comply

with that standard will result in Ms. Leidecker being deprived of constitutionally protected

material to which she is entitled.

          244.     Even if The Community Library were to create an “adult access only” section for

challenged materials, that would still violate the First Amendment rights of Ms. Leidecker.

Because of the stigma associated with “adults only” sections, Ms. Leidecker would be chilled

from entering such a section to review and checkout material.

                   COUNT FOUR – First Amendment, Minors’ Right to Receive
                     (Minor Plaintiffs and their parents against all Defendants)

          245.     All prior paragraphs are incorporated herein by reference as if fully set forth

herein.

          246.     The First Amendment “protects the right to receive information and ideas.”

Stanley v. Georgia, 394 U.S. 557, 564 (1969). The “right to receive information . . . extends to

educational settings.” See Pac. Coast Horseshoeing Sch., Inc. v. Kirchmeyer, 961 F.3d 1062,

1069 (9th Cir. 2020).




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          247.     The parents of the Minor Plaintiffs want their children to have access to

constitutionally protected materials that the Private Entity Plaintiffs wish to make available to the

Minor Plaintiffs, but which fall within the scope of H.B. 710. The Minor Plaintiffs wish to

receive constitutionally protected materials that their parents and the Private Entity Plaintiffs

wish to make available to them, but which fall within the scope of H.B. 710.

          248.     The parents of the Minor Plaintiffs want their children to access constitutionally

protected materials that fall within the scope of H.B. 710 without incurring the stigma of

accessing material that the State has deemed “obscene” and “harmful to minors.” The Minor

Plaintiffs similarly wish to access those constitutionally protected materials free of the stigma

imposed by H.B. 710.

          249.     H.B. 710 infringes the First Amendment rights of the Minor Plaintiffs.

                 COUNT FIVE – Fourteenth Amendment, Liberty Interest of Parents
                            (Parent Plaintiffs against all Defendants)

          250.     All prior paragraphs are incorporated herein by reference as if fully set forth

herein.

          251.     “The Due Process Clause [of the Fourteenth Amendment] specially protects those

fundamental rights and liberties which are, objectively, deeply rooted in this Nation’s history and

tradition, and implicit in the concept of ordered liberty, such that neither liberty nor justice would

exist if they were sacrificed.” Washington v. Glucksberg, 521 U.S. 702, 720–21 (1997) (internal

citations and quotation marks omitted).

          252.     Parent Plaintiffs have a fundamental liberty interest in directing the education of

their children, including by selecting a private school over a public school controlled by the

State. See Pierce, 268 U.S. at 534–35; Meyer v. Nebraska, 262 U.S. 390 (1923).




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        253.   Defendants have deprived Parent Plaintiffs of this right in violation of the

Fourteenth Amendment to the U.S. Constitution by imposing content-based restrictions on the

non-obscene materials that private entities, including the Private Entity Plaintiffs, may provide to

students, including the Parent Plaintiffs’ children, in connection with their education.

        254.   The U.S. Constitution entitles Parent Plaintiffs to be free from any burden to a

fundamental right unless the infringement is narrowly tailored to serve a compelling state

interest.

        255.   Defendants lack any compelling, or even rational, interest for burdening Parent

Plaintiffs’ liberty interest in educating their children with non-obscene materials.

                                     PRAYER FOR RELIEF

        WHEREFORE, in light of the foregoing facts and arguments, Plaintiffs respectfully

request that this Court:

        256.   Issue preliminary and permanent injunctive relief restraining Defendants, their

employees, agents, and successors in office from enforcing H.B. 710;

        257.   Declare H.B. 710 facially unconstitutional under the First and Fourteenth

Amendments to the United States Constitution;

        258.   Award Plaintiffs costs of suit and reasonable attorneys’ fees and other expenses

under 42 U.S.C. § 1988; and

        259.   Grant such additional relief as the interests of justice may require.



DATED: July 25, 2024                                  STOEL RIVES LLP
                                                      /s/ Wendy J. Olson
                                                      Wendy J. Olson
                                                      Nicole C. Hancock




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                                      /s/ Latonia Haney Keith
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